       Case 1:23-cr-00490-SHS          Document 224        Filed 02/28/24      Page 1 of 4




                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK



 UNITED STATES OF AMERICA

                           v.                                 Criminal Action No. 23-490 (SHS)

 ROBERT MENENDEZ, et al.,                                         Document electronically filed

                           Defendants.                         CERTIFICATION OF
                                                        LAWRENCE S. LUSTBERG IN SUPPORT
                                                          OF MR. HANA’S OMNIBUS PRETRIAL
                                                                MOTIONS TO DISMISS




       I, LAWRENCE S. LUSTBERG, hereby certify as follows:

       1.       I am an attorney-at-law, admitted to the bars of the States of New York and New

Jersey and admitted to practice in the United States District Court for the Southern District of New

York, among other Courts. I am also a Director with Gibbons P.C., counsel for Defendant Wael

Hana in the above-captioned matter.

       2.       I submit this Certification based upon my personal knowledge and review of the

attached relevant documents in support of Mr. Hana’s Omnibus Pretrial Motions to Dismiss.

       3.       Attached hereto as Exhibit A is a true and correct copy of an affidavit by Daniel

Lewis in support of the Government’s December 23, 2020 application for a search warrant, and

the resulting warrants in 20 Mag. 13682, bearing Bates Numbers SDNY_R_00003277 through

SDNY_R_00003429. The Government designated Exhibit A and its contents as “Attorney’s Eyes

Only” under the October 6, 2023 Protective Order, ECF No. 55. Accordingly, Exhibit A is being

filed under seal.
       Case 1:23-cr-00490-SHS          Document 224        Filed 02/28/24     Page 2 of 4




       4.       Attached hereto as Exhibit B is a true and correct copy of an affidavit by Mary Jo

Corkery in support of the Government’s November 24, 2021 application for a search warrant, and

the resulting warrants in 21 Mag. 11317, bearing Bates Numbers SDNY_R_00003430 through

SDNY_R_00003617. The Government designated Exhibit B and its contents as “Attorney’s Eyes

Only” under the October 6, 2023 Protective Order, ECF No. 55. Accordingly, Exhibit B is being

filed under seal.

       5.       Attached hereto as Exhibit C is a true and correct copy of an affidavit by Mary Jo

Corkery in support of the Government’s January 10, 2022 application for a search warrant, and

the resulting warrants in 22 Mag. 242, bearing Bates Numbers SDNY_R_00003962 through

SDNY_R_00004172. The Government designated Exhibit C and its contents as “Attorney’s Eyes

Only” under the October 6, 2023 Protective Order, ECF No. 55. Accordingly, Exhibit C is being

filed under seal.

       6.       Attached hereto as Exhibit D is a true and correct copy of an affidavit by Mary Jo

Corkery in support of the Government’s January 17, 2023 application for a search warrant, and

the resulting warrant in 23 Mag. 370, bearing Bates Numbers SDNY_R_00006221 through

SDNY_R_00006471. The Government designated Exhibit D and its contents as “Attorney’s Eyes

Only” under the October 6, 2023 Protective Order, ECF No. 55. Accordingly, Exhibit D is being

filed under seal.

       7.       Attached hereto as Exhibit E is a true and correct copy of an affidavit by Mary Jo

Corkery in support of the Government’s December 20, 2022 application for a search warrant, and

the resulting warrants in 22 Mag. 10186, bearing Bates Numbers SDNY_R_00005921 through

SDNY_R_00006220. The Government designated Exhibit E and its contents as “Attorney’s Eyes




                                                2
       Case 1:23-cr-00490-SHS          Document 224        Filed 02/28/24     Page 3 of 4




Only” under the October 6, 2023 Protective Order, ECF No. 55. Accordingly, Exhibit E is being

filed under seal.

       8.       Attached hereto as Exhibit F is a true and correct copy of an affidavit by Mary Jo

Corkery in support of the Government’s February 14, 2023 application for a search warrant and

order for historical cellphone location information, and the resulting warrants and orders in 23

Mag. 1206, bearing Bates Numbers SDNY_R_00006472 through SDNY_R_00006715. The

Government designated Exhibit F and its contents as “Attorney’s Eyes Only” under the October

6, 2023 Protective Order, ECF No. 55. Accordingly, Exhibit F is being filed under seal.

       9.       Attached hereto as Exhibit G is a true and correct copy of an affidavit by Ryan

Larkin in support of the Government’s September 20, 2023 application for a search warrant, and

the resulting warrants in 23 Mag. 6481, bearing Bates Numbers SDNY_R03_00000001 through

SDNY_R_00000321. The Government designated Exhibit G and its contents as “Attorney’s Eyes

Only” under the October 6, 2023 Protective Order, ECF No. 55. Accordingly, Exhibit G is being

filed under seal.

       10.      Attached hereto as Exhibit H is a true and correct copy of a letter dated December

28, 2023, from the Government to counsel for Mr. Hana disclosing certain information obtained

from Government interviews of potential witnesses in this case. The information contained therein

forms the basis for Mr. Hana’s motion to suppress under Franks v. Delaware, 438 U.S. 154 (1978).

The Government designated Exhibit H and its contents as “Attorney’s Possession Only” under the

October 6, 2023 Protective Order, ECF No. 55. Accordingly, Exhibit H is being filed under seal.


       I hereby certify that the foregoing statements made by me are true. I am aware that if any

of the foregoing statements made by me are willfully false, I am subject to punishment.


 Dated: January 15, 2024                            By: s/ Lawrence S. Lustberg

                                                3
Case 1:23-cr-00490-SHS   Document 224   Filed 02/28/24   Page 4 of 4




 Newark, New Jersey                 Lawrence S. Lustberg
                                    GIBBONS P.C.
                                    One Gateway Center
                                    Newark, New Jersey 07102
                                    (973) 596-4500
                                    llustberg@gibbonslaw.com

                                    Attorneys for Defendant Wael Hana




                                4
